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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

             v.                                    Case No. 21-cr-226-CRC

 CHRISTOPHER PATRICK MOYNIHAN

                  Defendant.

                    NOTICE OF FILING OF SENTENCING EXHIBITS

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, in accordance with Local Rule 49(e)(1), hereby files this notice of filing

of exhibits referenced in the government’s sentencing memorandum (ECF No. 52). Exhibits 1

through 14 are video exhibits incompatible with CM/ECF filing and were made available to the

Court electronically. The government has no objection to the public release of these exhibits.

                                              Respectfully submitted,

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                                      BY:     /s/ Robert Juman
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